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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 3:95-cr-147-4

KENNETH EDMONDS,

                              Defendant.

                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

the defendant’s sentence based on a reduction in the applicable sentencing guideline. On November

1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels the

guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the Sentencing

Commission amended Section 1B1.10 to make the crack amendment retroactive, effective March

3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was designated for

Standard consideration.

       The Court has received and considered the original Presentence Investigation Report,

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

       The original Presentence Investigation Report attributed 312 grams of cocaine base to the

defendant. This resulted in a base offense level of 34. The defendant’s base offense level was
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decreased by three levels for his acceptance of responsibility, resulting in a total offense level of 31.

Given a total offense level of 31 and a criminal history category of VI, the defendant’s original

guideline range was 188 to 235 months imprisonment. The court sentenced the defendant to 188

months.

        Initially, the United States objected to the defendant receiving a two-level reduction in

offense level under the amended guidelines because the defendant had a history of criminal activity

and numerous infractions while incarcerated. After counsel for the United States met with the

defendant and officers of the United States Probation Office, however, the United States withdrew

its objection, citing the defendant’s completion of the residential drug treatment program and the

fact that his prison infractions occurred more than five years ago.

        Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by two levels, resulting in a new total offense level of 29,

and a guideline range of 151 to 188 months. It is further ORDERED that Defendant’s previous

sentence be reduced to a period of 151 months, with credit for time served to date. This Order is

subject to the prohibition contained within U.S.S.G. §1B1.10(b)(2)( C).

        The Court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, the Federal Bureau of Prisons and

the United States Marshals.



                                                        ENTER:          June 19, 2008
